   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 1 of 16




                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO

        Civil Action No. 1:19-cv-02639-PAB-NYW

        JOHN PAULSON, Individually and
        on Behalf of all Others Similarly Situated,

                          Plaintiff,

                   v.

        TWO RIVERS WATER AND FARMING COMPANY,
        JOHN R. MCKOWEN,
        WAYNE HARDING, and
        TIMOTHY BEALL

                          Defendants


                          DEFENDANT TIMOTHY BEALL’S MOTION TO DISMISS


                   Defendant Timothy Beall, by and through his attorneys, Gordon Rees Scully Mansukhani

        LLP, hereby moves the Court pursuant to Fed. R. Civ. P. 12(b)(6) and 9(b) for an Order

        dismissing the claims against him. Plaintiff has failed to adequately plead claims for violations

        of the Colorado Securities Act (the “Act”), negligence and negligent misrepresentation.

                                              I.      INTRODUCTION

                   This case arises out of Plaintiff’s purchase in 2016 of securities in GrowCo, a developer

        and lessor of marijuana greenhouses. Plaintiff alleges GrowCo’s offering documents failed to

        disclose certain events that occurred between 1986 and 1995 involving GrowCo’s Chief

        Executive Officer, Defendant McKowen. In January 2019, GrowCo filed for bankruptcy which

        Plaintiff contends rendered his securities “worthless.” He subsequently filed this lawsuit.




4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 2 of 16




                   Plaintiff asserts five claims for relief against Defendant Beall, three based on the

        Colorado Securities Act, negligence and negligent misrepresentation. In essence, Plaintiff alleges

        Defendant Beall knew about these past events, was involved in the preparation of the offering

        documents and failed to disclose the events in the offering documents.

                   Plaintiff’s Amended Complaint fails to state a claim for relief against Defendant Beall

        because it fails to plead facts that support Plaintiff’s conclusions. Plaintiff fails to plead facts that

        suggest Defendant Beall had knowledge of these events or had a duty to disclose them if he had

        knowledge of them, or acted with an intent to deceive Plaintiff. Plaintiff fails to plead facts

        indicating Defendant Beall was involved in the drafting of the offering documents. Plaintiff fails

        to plead facts suggesting the alleged omission of these events caused his losses, especially given

        his allegation that is was GrowCo’s bankruptcy rendered his securities worthless.

                   In short, Plaintiff fails to set forth factual allegations suggesting Defendant Beall was

        involved in the alleged omission of these events from the offering documents. Plaintiff’s

        allegations are no more than conclusions that are not entitled to as assumption of truth on a

        motion to dismiss.

                   For these reasons set forth further below, Defendant Beall requests the Court to dismiss

        Plaintiff’s claims against him.

                                          II.    STANDARD OF REVIEW

                   “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

        accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

        U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

        Plausibility, in the context of a motion to dismiss, means the allegations allow “the court to draw


                                                           2
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 3 of 16




        the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

        Consideration of a motion to dismiss pursuant to Rule 12(b)(6) requires a two-step analysis.

        First, this Court must identify the allegations that, “because they are no more than conclusions,

        are not entitled to the assumption of truth.” Id. at 679. Second, this Court must consider the

        well-pleaded factual allegations to “determine whether they plausibly give rise to an entitlement

        to relief.” Id. “[W]here the well-pleaded facts do not permit the court to infer more than the

        mere possibility of misconduct, the complaint has alleged—but it has not shown—that the

        pleader is entitled to relief.” Id. (internal punctuation omitted). If the factual allegations fail to

        state a claim that is plausible on its face and not merely conceivable, dismissal is the appropriate

        remedy. Twombly, 550 U.S. at 570.

                   Further, Fed. R. Civ. P. 9(b) requires "[i]n alleging fraud or mistake, a party must state

        with particularity the circumstances constituting fraud or mistake." In determining whether the

        facts have been pled with particularity, a court should consider the level of detail, coherence and

        plausibility of facts considered together, whether sources of facts are disclosed, and any other

        indicia of how strongly the facts support the conclusion that a reasonable person would believe

        the defendant's statements were misleading. See In re Rhythms Sec. Litig., 300 F. Supp. 2d 1081,

        1087 (D. Colo. 2004). "Courts strictly enforce Rule 9(b) in connection with claims under the

        securities laws, 'requiring detailed statements of the specific conduct which allegedly violated the

        statutes in question.'" In re Exabyte Corp. Sec. Litig., 823 F. Supp. 866, 869 (D. Colo. 1993),

        citing Farlow v. Peat, Marwick, Mitchell & Co., 956 F.2d 982, 986 (10th Cir. 1992).




                                                           3
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 4 of 16




                                                 III.    ARGUMENT

                   A.     Plaintiff fails to allege primary liability against Defendant Beall under the
                          Colorado Securities Act.

                   Plaintiff alleges three claims against Defendant Beall under the Colorado Securities Act

        (the “Act”). Plaintiff’s First Claim is based on primary liability under sections 11-51-501 and 11-

        51-604(3) and (4). Plaintiff pleads his Second and Third Claims in the alterative as secondary

        liability under sections 11-51-604(5)(c) (substantial assistance liability) and 11-51-604(5)(a) and

        (b) (control person liability), respectively. These are secondary liability claims because they

        depend upon a finding of primary liability under Colo. Rev. Stat. § 11-51-501(1). To establish a

        securities fraud claim under the Act, a plaintiff must show: (1) that the plaintiff is a purchaser or

        seller of a security; (2) that the security is a "security;" (3) that the defendant acted with the

        requisite scienter; (4) that the defendant's conduct was in connection with the purchase or sale of

        a security; (5) that the defendant's conduct was in violation of the Act; and (6) that plaintiff relied

        upon defendant's conduct to his or her detriment or that defendant's conduct caused plaintiff’s

        injury. See Rosenthal v. Dean Witter Reynolds, Inc., 908 P.2d 1095, 1102 (Colo. 1995).

                   Plaintiff’s claims are premised on essentially two omissions (1) allegations in 1986 that

        Defendant McKowen engaged in securities fraud which resulted in the NASD1 revoking his

        securities registration and the Indiana Securities Department obtaining a cease and desist order

        and default judgment against him, and (2) that subsequently in 1995, Defendant McKowen filed

        for bankruptcy. (Am. Compl. ¶¶ 30-41) (hereinafter “Past Events”).



        1
            National Association of Securities Dealers (“NASD”).



                                                            4
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 5 of 16




                   Plaintiffs’ securities claims fail as a matter of law as: (1) Plaintiff fails to adequately

        allege that Defendant Beall acted with the requisite scienter, (2) Plaintiff fails to adequately

        allege that Defendant Beall’s conduct was in connection with the purchase or sale of a security,

        and (3) Plaintiff fails to adequately allege reliance or causation.

                          1.      Plaintiff fails to adequately plead Defendant Beall acted with scienter.

                   Federal authorities analyzing scienter are highly persuasive in interpreting the Act

        because the provisions of Colo. Rev. Stat. § 11–51–501(1) closely parallel those of Rule 10b–

        5(b) under the Securities and Exchange Act of 1934. Shriners Hospitals for Children v. Qwest

        Communications Int'l, Inc., No. 04–CV–0781, 2005 WL 2350569, *14 (D. Colo. Sept. 23, 2005)

        (finding lack of scienter where individual defendants were not aware of the alleged materiality of

        their actions) citing Lowery v. Ford Hill Inv. Co., 192 Colo. 125, 556 P.2d 1201, 1205

        (Colo.1976); see also Boettcher & Co., Inc. v. Munson, 854 P.2d 199, 204 (Colo. 1993) (Colo.

        Rev. Stat. § 11-51-501(1)’s provisions closely parallel those of its federal counterpart 15 U.S.C.

        § 78j(b), therefore federal authorities are highly persuasive in interpreting the Act).

                   The Tenth Circuit extensively discussed scienter in a recent opinion affirming a motion to

        dismiss in Smallen v. The Western Union Co., 950 F.3d 1297, 1305 (10th Cir. 2020). The Tenth

        Circuit explained scienter as follows:

                   Scienter is “ ‘a mental state embracing [1] intent to deceive, manipulate, or
                   defraud,’ or [2] recklessness.” [citations omitted]. “Intentional misconduct is
                   easily identified since it encompasses deliberate illegal behavior.” [citations
                   omitted]. Recklessness, on the other hand, is defined as “conduct that is an
                   extreme departure from the standards of ordinary care, and which presents a
                   danger of misleading buyers or sellers that is either known to the defendant or is
                   so obvious that the actor must have been aware of it.” [citations omitted]. In the
                   securities-fraud context, recklessness is akin to conscious disregard—allegations
                   of negligence or even gross negligence fall “below the high threshold for liability
                   under Section 10(b) of the Exchange Act.” [citations omitted].

                                                            5
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 6 of 16




        Smallen, 950 F.3d 1297, 1304-05.

                   Plaintiff’s allegations here fall woefully short of alleging Defendant Beall acted with

        scienter in allegedly failing to include the Past Events in the offering documents. Plaintiff

        broadly alleges “Defendants knowingly and/or recklessly sold the GrowCo securities to

        Plaintiff.” (Am. Compl. ¶ 76 ECF 56). Plaintiff further alleges Defendants Two Rivers and

        McKowen had actual knowledge of the Past Events while the other Defendants (including

        Defendant Beall) “had a duty to conduct adequate due diligence before offering and selling the

        GrowCo securities to Plaintiff and the class members, and were reckless in selling the GrowCo

        securities without disclosing the [Past Events.” (Am. Compl. ¶ 76 ECF 56). Plaintiff then alleges

        defendants provided the offering documents “with the intent that Plaintiff and the class members

        rely upon such Offering Documents….” (Am. Compl. ¶ 80 ECF 56).

                   Plaintiff fails to plead facts pertaining to Defendant Beall specifically and further fails to

        plead facts to support the above conclusions. Plaintiff does not plead facts alleging how

        Defendant Beall intentionally failed to include the Past Events in the offering documents. There

        are no allegations from which a reasonable inference can be drawn that Defendant Beall was

        involved in the preparation, drafting, review, approval and dissemination of the offering

        documents. Plaintiff fails to plead that Defendant Beall knew of the Past Events. To the contrary,

        Plaintiff alleges Defendant Beall “had a duty to conduct due diligence”, thus merely alleging

        Defendant Beall had a duty to discover the Past Events which plainly indicates Defendant Beall

        did not have knowledge of the Past Events. Plaintiff further fails to plead any factual allegations

        that suggest Defendant Beall had an intent to deceive Plaintiff and other investors. Plaintiff’s



                                                             6
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 7 of 16




        allegations are no more than conclusory statements lacking factual support. One cannot draw a

        reasonable inference that Defendant Beall is liable based upon such deficient allegations.

                   Notwithstanding this, even if Defendant Beall had knowledge of the Past Events, Plaintiff

        fails to allege the basis for Defendant Beall having a duty to disclose that information. It is well-

        established that a defendant cannot be liable for failing to disclose information absent a duty to

        do so. See Med. Safe Northwest, Inc. v. Medvial, Inc., 1 Fed. App’x. 795, 804 (10th Cir. 2001).

                   The failure to disclose material information is actionable only when one is
                   under a duty to do so. And the duty to disclose arises when one party has
                   information that the other party is entitled to know because of a fiduciary
                   or other similar relation of trust and confidence between them. A duty
                   arises from the relationship between the parties not merely because one
                   party has an ability to acquire information. Without a duty to disclose,
                   silence cannot be made fraudulent.

        Arst, 86 F.3d at 981, quoting Windon Third Oil and Gas v. Federal Deposit Ins., 805 F.2d 342,

        347 (10th Cir. 1986) (emphasis added).

                   Plaintiff alleges no facts from which one could draw a reasonable inference that

        Defendant Beall acted with scienter. Plaintiff’s allegations are the type of speculative, conclusory

        allegations that are insufficient to state a claim under the standards of Twombly and Iqbal.

                          2.      Plaintiff fails to adequately plead that Defendant Beall’s conduct was in
                                  connection with the purchase or sale of a security.

                   Plaintiff’s allegations that Defendant Beall failed to include the alleged Past Events in the

        offering documents does not implicate the characteristics of the securities at issue and hence was

        not made in connection with the purchase or sale of securities. See Bernstein v. Misk, 948 F.

        Supp. 228, 243 (E.D.N.Y. 1997) (allegations that defendants omitted certain facts concerning

        their backgrounds do not in any way implicate the characteristics or attributes of the shares and

        hence were not made "in connection with" the purchase and sale of securities). The alleged Past

                                                            7
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 8 of 16




        Events are events involving Defendant McKowen that occurred between 1986 and 1995.

        Plaintiff fails to allege any facts indicating these events somehow implicate the characteristics or

        attributes of the GrowCo securities sold decades later in 2016.

                   Further, Plaintiff, without any supporting facts broadly alleges all Defendants

        participated in the drafting, preparation and/or approval of the offering documents, and prepared

        securities filings, solicited sales, conducted presentation and sought out prospective investors for

        the offerings. (Am. Compl. ¶ 79 ECF 56). As discussed, Plaintiff does not allege any supporting

        allegations specific to Defendant Beall and alleges no facts that that would make one believe it

        was possible that Defendant Beall engaged in any of this conduct. Absent supporting facts, these

        allegations are no more than conclusions, and are not entitled to the assumption of truth under

        the Ashcroft and Twombly standards.

                          3.      Plaintiffs Fails to Adequately Plead Reliance or Causation

                   Plaintiff’s claims under the Act fail because they have failed adequately to allege either

        reliance or causation. See Rosenthal, 908 P.2d at 1101 (either reliance or causation are necessary

        to support a cognizable claim). The “purpose of any reliance requirement is to provide the

        requisite causal connection between a defendant's misrepresentation and a plaintiff's injury.” Id.

        As such, the plaintiff must establish that the defendant's alleged omission was a “substantial

        factor in determining the course that resulted in plaintiff's loss.” Id. at 1101–2.

                   Plaintiff is not entitled to any presumption of reliance. First, Colorado does not recognize

        the fraud-on-the-market doctrine, so Plaintiff is not entitled to a presumption of reliance based

        upon that doctrine. See Schwartz v. Celestial Seasonings, Inc., 185 F.R.D. 313, 317 (D. Colo.

        1999) (“fraud on the market” theory not recognized under Colorado Securities Act); see also


                                                            8
4837-9568-5647.1
   Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 9 of 16




        Rosenthal, 908 P.2d at 1104. With respect to the alleged material Past Events, Plaintiffs are only

        entitled to a presumption of reliance if the alleged Past Events occur in the context of a

        relationship of trust and confidence. See Stat-Tech Liquidating Trust v. Fenster, 981 F. Supp.

        1325, 1331 (D. Colo. 1997). Plaintiff has failed to allege that Defendant Beall was in a

        relationship of trust and confidence. Plaintiff alleges no facts that suggest he had such a

        relationship with Defendant Beall. Consequently, Plaintiffs are required to plead reliance

        affirmatively and adequately, which they have not done. Moreover, because Plaintiff is not

        entitled to a presumption of reliance, he is obligated to allege and prove reliance separately as to

        each and every member of the class. In light of the highly particularized facts necessary to prove

        reliance, and the number of class members for whom reliance must be separately proven, the

        claims are inappropriate for treatment as a class action. Since Plaintiff has not alleged, nor could

        he allege, reliance as to each member of the class, Plaintiff’s claims must be dismissed.

                   Plaintiffs have also failed to sufficiently allege that the omission of the Past Events was

        substantial factor in determining the course that resulted in Plaintiff's loss. Plaintiff alleges he

        purchased the securities in reliance on the offering documents that omitted the background

        information about Defendant McKowen. (Am. Compl. ¶¶ 49-56.) Plaintiff then alleges he was

        injured when GrowCo filed for bankruptcy because his investments became “worthless”. (Am.

        Compl. ¶ 59.) Plaintiff therefore expressly alleges that the cause of his alleged injuries was

        GrowCo’s bankruptcy filing. Plaintiff does not allege any connection between the omission of

        the Past Events and the alleged “worthless” status of his securities.

                   The result is that Plaintiff has failed to plead with particularity how each of the class

        members relied upon Defendant Beall or how their alleged injuries were caused by Defendant


                                                            9
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 10 of 16




        Beall. Thus, Plaintiff has failed to adequately plead that Defendant Beall’s conduct was in

        connection with the purchase or sale of a security.

                   B.     Plaintiff Fails to Sufficiently Allege Secondary Liability Under the Colorado
                          Securities Act.

                          1.     Defendant Beall Provided Substantial Assistance in the Sale of Securities

                   Section 11-51-604(5)(c) provides that “any person who knows that another person liable

        under subsection (3) or (4) of this section is engaged in conduct which constitutes a violation of

        section 11-51-501” and who “gives substantial assistance to such conduct is jointly and severally

        liable to the same extent as such other person.” Claims alleging such substantial assistance are

        therefore dependent upon a showing of a primary violation of C.R.S. §11-51-501. Such claim are

        also limited to those instances in which plaintiffs can adequately allege the defendants had

        knowledge of the primary violation. See Stat-Tech Liquidating Trust, 981 F. Supp. at 1339.

                   Here, Plaintiff fails to properly allege a substantial assistance claim against Defendant

        Beall because Plaintiff fails to allege a primary violation and fails to sufficiently allege

        Defendant Beall had knowledge of the primary violation. To support this claim, Plaintiff alleges

        GrowCo violated C.R.S. §11-51-501. (Am. Compl. ¶85 ECF 56). GrowCo, however, is not a

        defendant in this case. The Amended Complaint does not allege a claim against GrowCo or any

        allegations supporting such a claim for violation of C.R.S. §11-51-501. Plaintiff therefore fails to

        sufficiently allege a primary violation. As a result, Plaintiff’s claim for substantial assistance in

        the sale of securities fails without further analysis.

                   But the remaining allegations under this claim are equally deficient. Plaintiff broadly

        alleges “Defendants” “knew” that GrowCo was liable.             (Am. Compl. ¶87 ECF 56). The



                                                           10
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 11 of 16




        Amended Complaint, however, is devoid of factual allegations to suggest Defendant Beall

        “knew” that GrowCo had violated the Colorado Securities Act.

                   Plaintiff alleges “Defendants” provided substantial assistance to GrowCo by drafting,

        producing, reviewing, and/or disseminating the offering documents. (Am. Compl. ¶88 ECF 56).

        As discussed above, Plaintiff alleges no facts to support these conclusory allegations.

                   Finally, Plaintiff alleges that as a result of the Defendants’ assistance, Plaintiff invested in

        GrowCo securities and suffered losses. (Am. Compl. ¶89 ECF 56). There are no allegations in

        the Amended Complaint that suggest Defendant Beall had any interactions with Plaintiff relating

        to Plaintiff’s purchase of GrowCo’s securities. Further, Plaintiff alleges he suffered losses

        because GrowCo filed for bankruptcy. (Am. Compl. ¶60 ECF 56).

                   Plaintiffs have failed to allege a primary violation of the Act or that Defendant knew of

        the violation and provided substantial assistance to the violation, therefore Plaintiffs’ aiding and

        abetting claim fails as a matter of law.

                           2.      Plaintiff Fails to Sufficiently Allege Defendant Beall Was and Can Be
                                   Liable as a Control Person

                   Control person liability requires a plaintiff to establish (1) a primary violation of the

        securities law and (2) control over the primary violator by the alleged controlling person. See

        Stat-Tech Liquidating Trust, 981 F. Supp. at 1337. Plaintiff again alleges GrowCo violated the

        Act. As discussed above, GrowCo is not a defendant in this case and Plaintiffs have failed to

        allege a primary violation by GrowCo. On this basis alone, Plaintiff’s claim for control person

        liability fails. Like Plaintiff’s other claims, Plaintiff’s allegations under this claim do not allege

        any conduct specifically attributable to Defendant Beall. Instead, Plaintiff broadly alleges the

        GrowCo Individual Defendant were all officers and directors of GrowCo and each possessed the

                                                             11
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 12 of 16




        power to direct or cause the direction of the management or policies of GrowCo. (Am. Compl.

        ¶96 ECF 56). Plaintiff alleges Defendant Beall acted as the “Chief Operating Officer and/or

        otherwise was and acted as a control person of GrowCo” but provide no factual support for this

        statement. (Am. Compl. ¶7 ECF 56). Plaintiff further fails to provide any factual allegations

        suggesting Defendant Beall possessed the power to direct or cause the direction of the

        management or policies of GrowCo. Plaintiff’s allegations are again mere conclusions that lack

        the factual support necessary to survive a motion to dismiss.

                   C.     Plaintiff’s Negligence Claim Fails because Plaintiff fails to Sufficiently Allege
                          Defendant Beall Owed a Duty

                   To establish a negligence claim, a plaintiff must establish (1) the defendant owed a duty

        of care; (2) defendant breached that duty; (3) plaintiff suffered an injury, and (4) the defendant’s

        breach caused the injury. Ryder v. Mitchell, 54 P.3d 885, 889 (Colo. 2002). A legal duty to use

        reasonable care arises in response to a foreseeable risk of injury to others. Palmer v. A.H. Robins

        Co., Inc., 684 P.2d 187, 209 (Colo. 1984).

                   Here, Plaintiff broadly alleges all defendants owed Plaintiff and class members a duty of

        reasonable case in connection with their preparation of offering documents and breached that

        duty by failing to disclose the Past Events from the offering documents. (Am. Compl. ¶100 ECF

        56). Plaintiff does not assert allegations identifying the basis of the purported duty. A defendant

        cannot be liable for failing to disclose information absent a duty to do so. See Med. Safe

        Northwest, Inc. v. Medvial, Inc., 1 Fed. App’x. 795, 804 (10th Cir. 2001). As discussed above,

        Plaintiff fails to assert any factual allegations that would lead to the conclusion that Defendant

        Beall prepared, authorized or reviewed the offering documents. Plaintiff further fails to allege

        any facts showing that Defendant Beal knew of the Past Events. A defendant cannot have a duty

                                                           12
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 13 of 16




        to disclose information he does not know. Finally, Plaintiff alleges he was damaged as a result of

        the alleged failure to disclose the Past Events, but in his factual allegations alleged he was

        injured as a result of non-party GrowCo filing bankruptcy. (Am. Compl. ¶ 59 ECF 56).

                   D.     Plaintiff’s Claim for Negligent Misrepresentation Fails because Colorado does not
                          recognize such a claim based on omissions.

                   The elements of a claim of negligent misrepresentation are: (1) one in the course of his or

        her business, profession or employment; (2) makes a misrepresentation of a material fact,

        without reasonable care; (3) for the guidance of others in their business transactions; (4) with

        knowledge that his or her representations will be relied upon by the injured party; and (5) the

        injured party justifiably relied on the misrepresentation to his or her detriment. Allen v. Steele,

        252 P.3d 476, 482 (Colo. 2011).

                   This Court conducted an extensive analysis of whether Colorado law recognizes a claim

        for negligent misrepresentation based on omissions and concluded that it does not:

                   While the Colorado Supreme Court has not explicitly determined whether an
                   omission can give rise to a negligent misrepresentation claim, it has described the
                   false information prong of a negligent misrepresentation claim as
                   “suppl[ying] false information for the guidance of others in their business
                   transactions.” Mehaffy, Rider, Windholz & Wilson v. Cent. Bank Denver, N.A.,
                   892 P.2d 230, 236 (Colo. 1995) (en banc) [citations omitted].

                   The weight of authority from the Colorado Court of Appeals also indicates that
                   a negligent misrepresentation claim must be premised on affirmative statements,
                   rather than omissions. See, e.g., Hildebrand v. New Vista Homes II, LLC, 252
                   P.3d 1159, 1167 (Colo. App. 2010) (holding that a negligent misrepresentation
                   claim “must focus on what [defendant] affirmatively represented, not what it
                   failed to disclose” (quotation omitted)); Colo. Coffee Bean, LLC v. Peaberry
                   Coffee Inc., 251 P.3d 9, 31 (Colo. App. 2010) (“[A]lthough we have concluded
                   that nondisclosure ... could support a fraud claim, our analysis [of the negligent
                   misrepresentation claim] is limited to what [defendant] affirmatively represented,
                   not what it failed to disclose.”); Haney v. Castle Meadows, Inc., 839 F. Supp. 753,
                   756 (D. Colo. 1993) (interpreting Colorado state law and concluding that “there is
                   no tort for negligent concealment…”).

                                                           13
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 14 of 16




        Craig Hospital v. Tyson Foods, 2019 WL 509573 *6-7 (D.Colo. 2019). The Court then

        concluded, “the Colorado Supreme Court would require that a negligent misrepresentation claim

        be grounded in affirmative statements.” Id. at *7.

                   Here, Plaintiff’s negligent misrepresentation claim against Defendant Beall is premised

        on Plaintiff’s allegation that Defendant Beall failed to include the Past Events in the offering

        documents. (Am. Compl. ¶105 ECF 56). Because Plaintiff’s claim is premised on omissions, it is

        not recognized in Colorado, and thus fails. In paragraph 104 of Amended Complaint, Plaintiff

        does make the conclusory statement that Defendants provided false information and made

        material misrepresentations, but then only cites to the alleged Past Events in paragraph 105 and

        alleges no affirmative misrepresentations. (Am. Compl. ¶¶ 104;105 ECF 56).

                   Further, as previously discussed, Plaintiff asserts no factual allegations suggesting that

        Defendant Beall prepared, reviewed or approved the offering documents or that Defendant Beall

        had knowledge of the Past Events. Plaintiff’s claim fails for these reasons as well.

                                                IV.    CONCLUSION

                   For the reasons set forth above, Plaintiff’s Amended Complaint fails to state a claim for

        relief against Timothy Beall pursuant to Fed. R. Civ. P. 12(b)(6) and 9(b).

                   WHEREFORE, Defendant Timothy Beall respectfully requests this Court to dismiss

        Plaintiff’s Amended Complaint.




                                                           14
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 15 of 16




                   Respectfully submitted this 29th day of May 2020.



                                                              /s/ Tamara A. Seelman
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                                                         15
4837-9568-5647.1
  Case 1:19-cv-02639-PAB-NYW Document 96 Filed 05/29/20 USDC Colorado Page 16 of 16




                                       CERTIFICATE OF SERVICE

                The undersigned hereby certifies that on this 29th day of May 2020, a true copy of the
        above and foregoing was electronically filed with the Clerk of the United States District Court
        using the CM/ECF system, which will serve copies to all attorneys of record.




                                                   /s/ Lisa Riggenbach
                                                   For Gordon Rees Scully Mansukhani LLP




                                                      16
4837-9568-5647.1
